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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA
                           CASE NO. 0:19-cv-61430- MORENO/Seltzer


  ELIZABETH E. BELIN, et al.,

                 Plaintiffs,

  v.

  HEALTH INSURANCE INNOVATIONS, INC.,
  et al.,
            Defendants.

                                                       /


                    DEFENDANTS’ MOTION FOR EXTENSION OF TIME
                            TO RESPOND TO DISCOVERY

         Pursuant to Rule 6(b) of the Federal Rules of Civil Procedure and S.D. L.R. 7.1,

  Defendants Health Plan Intermediaries Holdings, LLC (“HPIH”), Health Insurance Innovations,

  Inc. (“HII”), and Michael Kosloske (“Kosloske”) (collectively, “Defendants”) respectfully

  submit this Motion for Extension of Time to respond to Plaintiffs’ Elizabeth Belin, Christopher

  Mitchell, Mitchell Kirby, Kathryn Svenson, Gabrielle Watson, and Kevin Furman (collectively,

  “Plaintiffs”) First Request for Production to HPIH, First Request for Production to HII, First

  Request for Production to Kosloske, First Set of Interrogatories to HPIH, and First Set of

  Interrogatories to HII, and in support thereof states as follows:

         1.      This is an action for alleged violations of the Racketeer Influenced and Corrupt

  Organizations Act (“RICO), conspiracy to commit RICO, and common law claims for aiding and

  abetting and unjust enrichment.

         2.      On October 6, 2019, Plaintiffs served their First Requests for Production to HPIH,

  First Request for Production to HII, First Request for Production to Kosloske, First Set of
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  Interrogatories to HPIH, and First Set of Interrogatories to HII (collectively, “Discovery

  Requests”).

         3.      Defendants and their counsel have diligently reviewed the Discovery Requests,

  have begun to prepare appropriate responses and objections, and have begun to accumulate

  documents and records sought to be responsive to the Discovery Requests.

         4.      The Discovery Requests are quite extensive. The First Request for Production to

  HPIH includes 89 separate requests. The First Request for Production to HII includes 89 separate

  requests. The First Request for Production to Kosloske includes 17 separate requests. The First

  Set of Interrogatories to HPIH and HII include 25 separate interrogatories, respectively.

         5.      Since the Discovery Requests were propounded, Defendants’ counsel has faced

  numerous filing deadlines in federal courts throughout the country, including this matter.

         6.      Furthermore, HPIH and HII are involved in the health insurance industry. Open

  enrollment runs from November 1, 2019 to December 15, 2019. This is the busiest time of the

  year for HPIH and HII. Currently, staffing is limited.

         7.      As a result, Defendants need additional time to review the Discovery Requests to

  formulate proper responses.

         8.      No prejudice shall inure to Plaintiffs. Currently, there is no deadline to complete

  discovery.

         9.      The extension sought herein is not intended for purposes of delay and will not

  cause prejudice to the Court or Plaintiffs.

         10.     Defendants request a reasonable extension of time through December 6, 2019 to

  respond to the Discovery Requests.




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          WHEREFORE, Defendants, Health Plan Intermediaries Holdings, LLC, Health Insurance

  Innovations, Inc., and Michael Kosloske, respectfully request entry of an Order extending the

  time within which they may respond to Plaintiffs’ First Request for Production to HPIH, First

  Request for Production to HII, First Request for Production to Kosloske, First Set of

  Interrogatories to HPIH, and First Set of Interrogatories to HII, up to and including December 6,

  2019.

                  CERTIFICATE OF COMPLIANCE WITH S.D. FLA. L.R. 7.1(a)(3)

          I HEREBY CERTIFY that, in accordance with S.D. Fla. Local Rule 7.1(a)(3), the

  undersigned counsel for the movant has conferred with all parties who may be affected by the

  relief sought in the motion in a good faith effort to resolve the issues raised in the motion and has

  been unable to so do. The follow steps were taken to try and resolve the issues.

          On October 31, 2019, Defendants’ counsel Dariel Abrahamy sent an email to Plaintiffs’

  counsel requesting an extension. On November 1, 2019, Defendants’ counsel Dariel Abrahamy

  spoke on the phone with Plaintiffs’ counsel Jason Kellogg about the extension request. Counsel

  then exchanged emails dated November 1, 2019 and November 5, 2019. While the parties were

  close to resolving the issues, they were unable to reach an agreement.

          Dated: November 6, 2019.
                                          By: s/ Dariel Abrahamy
                                             Garry W. O’Donnell, Esq.
                                             Florida Bar No. 0478148
                                             Email: garry.odonnell@gmlaw.com
                                             Dariel J. Abrahamy, Esq.
                                             Florida Bar No. 0014901
                                             Email: dariel.abrahamy@gmlaw.com
                                             GREENSPOON MARDER LLP
                                             2255 Glades Road, Suite 400-E
                                             Boca Raton, Florida 33431
                                             Telephone: (561) 994-2212
                                             Facsimile: (561) 807-7527
                                             Attorneys for Defendants,
                                             Health Insurance Innovations, Inc., Health Plan
                                             Intermediaries Holdings, LLC, and Michael Kosloske



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                                   CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that the foregoing document was filed with the Clerk of Court

  using the Court’s CM/ECF system on this 6th day of November, 2019, which will generate

  notification to all known counsel of record or pro se parties.


                                          By: s/ Dariel Abrahamy
                                             Dariel Abrahamy




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